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                    IN THE UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF DELAWARE

                                                 Case No. 1:18-CV-00250-UNA
DAVID KIM, Individually and on Behalf of
All Others Similarly Situated,                   Judge Gregory M. Sleet

                              Plaintiff,

               v.

CASCADIAN THERAPEUTICS, INC.,
CHRISTOPHER S. HENNEY, ROBERT W.
AZELBY, GWEN A. FYFE, STEVEN P.
JAMES, TED W. LOVE, SCOTT D. MYERS,
and DANIEL K. SPIEGELMAN,

                              Defendants.

               STIPULATION TO DISMISS ACTION AS MOOT AND RETAIN
              JURISDICTION TO DETERMINE PLAINTIFF’S COUNSEL’S
                       MOTION FOR FEES AND EXPENSES

       WHEREAS, on February 13, 2018, Plaintiff David Kim (“Plaintiff”) filed a putative class

action complaint (the “Complaint”) for alleged violations of the Securities Exchange Act of 1934

(the “Act”) in the above-captioned action (the “Action”);

       WHEREAS, the Complaint includes claims against Defendants Cascadian Therapeutics,

Inc. (“Cascadian”), Christopher S. Henney, Robert W. Azelby, Gwen A. Fyfe, Steven P. James,

Ted. W. Love, Scott D. Myers, and Daniel K. Spiegelman under Sections 14(d), 14(e), and 20(a)

of the Act and Rule 14a-9 promulgated thereunder with respect to certain public disclosures

made by Cascadian in the Schedule 14D-9 Solicitation/Recommendation Statement (the “14D-

9”) filed with the United States Securities and Exchange Commission (the “SEC”) on or around

February 8, 2018 in connection with the acquisition of Cascadian by Seattle Genetics, Inc. (the

“Proposed Transaction”);

       WHEREAS, Cascadian executed a waiver of service of summons on February 15, 2018;
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       WHEREAS, all other Defendants executed waivers of service of summons on February

20, 2018;

       WHEREAS, on February 15, 2018, Plaintiff’s counsel sent Cascadian’s counsel an

unsolicited settlement demand letter;

       WHEREAS, on February 14, 2018, February 16, 2018, and February 26, 2018, Cascadian

publicly filed Schedule 14D-9/A amendments that included supplemental disclosures related to

the Proposed Transaction (the “Supplemental Disclosures”) which Plaintiff believes addressed

and mooted his claims regarding the sufficiency of the disclosures in the 14D-9;

       WHEREAS, Plaintiff asserts that the prosecution of the Action caused Cascadian to

include the Supplemental Disclosures and that Plaintiff’s counsel has the right to seek and

recover attorneys’ fees and expenses in connection with a claimed common benefit provided to

Cascadian’s stockholders as a result of the filing of the Supplemental Disclosures;

       WHEREAS, Defendants deny that the Supplemental Disclosures contained additional

material facts that were required to be disclosed and deny that any claim asserted in the

Complaint is or was ever meritorious;

       WHEREAS, on March 8, 2018, Plaintiff’s counsel filed a Motion for an Award of

Attorneys’ Fees and Expenses (the “Fee and Expense Motion”);

       WHEREAS, all of the Defendants in this action reserve their right to oppose the Fee and

Expense Motion;

       WHEREAS, Plaintiff believes and contends that the Supplemental Disclosures mooted

the claims set forth in the Complaint, and that any remaining claims are so unlikely to be

successful as to warrant dismissal;




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         WHEREAS, for the avoidance of doubt, no compensation in any form has passed directly

or indirectly to Plaintiff or his attorneys and no promise, understanding, or agreement to give any

such compensation has been made; nor have the parties had any discussions concerning the

amount of any attorneys’ fees and expenses;

         WHEREAS, Plaintiff’s counsel seeks to dismiss the Complaint with prejudice as to

Plaintiff and without prejudice as to unnamed members of the purported class;

         WHEREAS, the parties intend to meet and confer concerning the amount of any

attorneys’ fees and expenses requested to be paid to Plaintiff’s counsel, and, if the parties are

unable to reach an agreement, the parties respectfully request that this Court retain jurisdiction

over the Fee and Expense Motion; and

         WHEREAS, no class has been certified in this action.

         NOW, THEREFORE, IT IS STIPULATED AND AGREED by the undersigned parties,

through their attorneys and subject to the Court’s approval, that:

         1.     This action is dismissed pursuant to Federal Rule of Civil Procedure 41(a), and all

claims asserted therein are dismissed with prejudice as to Plaintiff, individually, and without

prejudice as to any alleged claims of any other putative class member.

         2.     As the dismissal is with prejudice to Plaintiff only, and without prejudice as to all

other members of the putative class, notice of this dismissal is not required.

         3.     This Court retains jurisdiction of this action solely for the purpose of adjudicating

the Fee and Expense Motion.

         4.     The parties shall meet and confer concerning Plaintiff’s Fee and Expense Motion.

If the parties reach an agreement concerning the Fee and Expense Motion, they will notify the

Court.




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       5.      To the extent the parties are unable to reach an agreement concerning the Fee and

Expense Motion, any opposition to the Fee and Expense Motion shall be filed on or before May

11, 2018; and any reply in further support of the Fee and Expense Motion shall be filed on or

before June 14, 2018.

       6.      This order is entered without prejudice to any position, claim, or defense any

party may assert with respect to the Fee and Expense Motion, which includes the Defendants’

right to challenge the basis for, as well as the amount of, the Fee and Expense Motion, if

necessary.

       Respectfully submitted this 16th day of April 2018.

                                                   COOCH AND TAYLOR, P.A.

                                                   /s/ Blake A. Bennett
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                                         Myers, and Daniel K. Spiegelman



PURSUANT TO THE STIPULATION, IT IS SO ORDERED.



                                     __________________________
                                     Hon. Gregory M. Sleet

                                     DATED: _________________, 2018



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